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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

 TYDUNTRAE JACKSON,                                       )
                                                          )
         Plaintiff,                                       )      Case: 3:23-cv-50142
                                                          )
         v.                                               )
                                                          )
 HENNIG INC. D/B/A HENNIG                                 )
 ENCLOSURE SYSTEMS, and YES                               )
 STAFFING, LLC,                                           )      Jury Trial Demanded
                                                          )
         Defendants.

                                            COMPLAINT

        Plaintiff, Tyduntrae Jackson (“Plaintiff”) in support of his Complaint against Hennig Inc.

d/b/a Hennig Enclosure Systems and Yes Staffing, LLC (“Defendants”), states as follows:

                              NATURE OF PLAINTIFF’S CLAIMS

        1.    This lawsuit arises under the Civil Rights Act of 1964, as amended, 42 U.S.C. §

1981 (“Section 1981"), Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e

et seq. (“Title VII”) seeking redress for Defendants’ race-based discrimination and retaliation

under Title VII.

                                  JURISDICTION AND VENUE

        2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331. This action

is authorized and instituted pursuant to 42 U.S.C. § 1981 and Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e-5 et seq.

        3.      Venue of this action properly lies in the Northern District of Illinois, Western

Division, pursuant to 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391(b) insofar as Defendants

operate and transact business in this judicial district and the events giving rise to Plaintiff’s claims
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occurred within this District.

       4.      Plaintiff was employed by Defendants as an “employee” within the meaning of 42

U.S.C § 2000e(f).

       5.      During the applicable limitations period, Defendants have at least fifteen

employees, has been an “employer” as defined by Title VII, and has been engaged in an industry

affecting commerce within the meaning of Title VII, 42 U.S.C. § 2000e(b).

       6.      At all relevant times, Defendants have continuously been under contract for

services rendered in Illinois, and have continuously been a joint employer, which both Defendants

generally controlled the terms and conditions of the employment of Plaintiff.

                           ADMINISTRATIVE PREREQUISITES

       7.      All conditions precedent to jurisdiction under § 706 of Title VII, 42 U.S.C. § 2000e-

5, have occurred or been complied with.

       8.      A charge of employment discrimination on basis of race, color, and retaliation was

filed by the Plaintiff against Defendants with the Equal Employment Opportunity Commission

(“EEOC”) (Attached hereto as Exhibit “A”).

       9.      Plaintiff received a Notice of Right to Sue from the EEOC (attached hereto as

Exhibit “B”), and Plaintiff filed this lawsuit within ninety (90) days of his receipt of the EEOC’s

Notice of Right to Sue.

                                             PARTIES

       10.     At all times material to the allegations of this Complaint, Plaintiff resides in

Winnebago County in the State of Illinois.

       11.     At all times material to the allegations in this Complaint, Defendant, Hennig Inc.

d/b/a Hennig Enclosure Systems is a corporation doing business in and Winnebago County whose


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address is 9900 N. Alpine Dr., Machesney Park, IL 61115.

        12.    At all times material to the allegations in this Complaint, Defendant, Yes Staffing,

LLC is a corporation doing business in and Winnebago County whose address is 9950 N. Alpine

Rd., Suite 101 Machesney Park, IL 61115.

                                    BACKGROUND FACTS

        13.    The Defendants hired, Tyduntrae Jackson, (African American) as a full time

employee for Hennig, Inc., d/b/a Hennig Enclosure Systems through Yes Staffing Agency on or

around August 22, 2022 in a shipping position.

        14.    The Defendants employed the Plaintiff until the Defendants unlawfully terminated

the Plaintiff because of his race (African American), skin color (brown), and for opposing unlawful

discrimination.

        15.    The Defendants subjected the Plaintiff to discrimination and a hostile work

environment because of his race.

        16.    The Defendants have subjected the Plaintiff to race-based discrimination and

retaliation.

        17.    Plaintiff is member of a protected class because of his race, African-American.

        18.    Since the beginning of Plaintiff’s employment with the Defendants, the Defendants

have subjected Plaintiff to different terms and conditions of employment than others not within his

protected class and have discriminated against the Plaintiff because of his race.

        19.    Because of the Defendants’ actions, the Plaintiff suffered the adverse employment

action of constant and daily racial discrimination, all which are a material changes of the

employment conditions.

        20.    The Plaintiff met or exceed the Defendants’ performance expectations during his



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employment.

        21.     Plaintiff suffered multiple adverse employment actions such as harassment, failure

to promote and termination.

        22.     Plaintiff can show that the adverse employment actions and the discrimination is

solely because of his race.

        23.     Defendants subjected the Plaintiff to offensive, degrading and humiliating

comments by co-workers that referenced Plaintiff’s race.

        24.     The environment of discrimination and humiliation pervaded the entire company

of both Defendants.

        25.     Since the Plaintiff began working at this location, the Defendants subjected him to

constant racial discrimination.

        26.     The Plaintiff was qualified to perform the essential duties of the shipping position

as the Plaintiff has several years working in shipping and logistics.

        27.     On or around June of 2022, the Plaintiff’s Supervisor Doug Ladig (Caucasian) told

the Plaintiff "there is a white, black and green wire; if you mix the black and white together you

get a lot of B.S."

        28.     The Defendants humiliated the Plaintiff with this racist and inappropriate joke.

        29.     Shortly thereafter, the Plaintiff had another racial incident when the Plaintiff

incorrectly placed a shackle on a part and his coworker; Paul Avvarro (Hispanic), responds to the

Plaintiff was "you are a smart, dumb nigger."

        30.     The Plaintiff immediately filed a complaint with Mr. Ladig.

        31.     However, the Plaintiff’s complaint went unaddressed and the Defendants took no

action against Mr. Avvarro.



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        32.    On or around July of 2022, the Plaintiff began to experience an issue with his pay.

        33.    The Plaintiff’s employer submitted the Plaintiff’s pay to the bank and then canceled

it.

        34.    When the Plaintiff spoke to Human Resources (HR) regarding this matter, they

responded to the Plaintiff by stating that they made a mistake and had to change the Plaintiff’s start

date to September.

        35.    The Owner, Mark, then offered the Plaintiff an envelope with $200.00 instead of

providing him with a payroll check.

        36.    Non-African American employees did not experience this issue.

        37.    On or around August of 2022, Mr. Ladig bumped into the Plaintiff while they were

passing each other.

        38.    Mr. Ladig then said, "Watch where you're going boy."

        39.    The use of the word "boy" by Mr. Lane was racial and humiliating to Plaintiff.

        40.    The Defendants denied the Plaintiff essential tools and equipment that that the

Defendants provided to all other non-African American employees but the Plaintiff was required

to buy his own at his cost.

        41.    The Defendants did not given the opportunity to the Plaintiff to be cross-trained in

other areas; other non-African American employees were provided more opportunities than the

Plaintiff.

        42.    On or around August of 2022, the Defendants held a cook out for their employees.

        43.    While at the outing the Plaintiff was approached by Mr. Ladig, to which he said,

"you drink 40’s, eat hog, chitins, collard greens, and stuff like that, don't you?"

        44.    The Plaintiff was again, highly offended and humiliated by this unprovoked racial



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attack; however, Mr. Ladig just laughed at the Plaintiff and walked away.

         45.   The Plaintiff attempted to file a complaint with HR, however the Plaintiff’s

concerns again went unaddressed and the Defendants took no disciplinary action.

         46.   On or around September of 2022, the Plaintiff began to experience COVID-19

symptoms.

         47.   The Plaintiff informed Mr. Ladig and he had the Plaintiff take a COVID test while

he was home.

         48.   The Plaintiff’s test results came back positive and the Plaintiff sent a picture to Mr.

Ladig.

         49.   Mr. Ladig instructed the Plaintiff to bring the test box to work the following day.

         50.   The Plaintiff explained to Mr. Ladig that he was uncomfortable doing this because

his family and he were sick and did not want to expose others to the virus.

         51.   Mr. Ladig told the Plaintiff HR would contact the Plaintiff regarding the matter.

         52.   However, shortly thereafter the Defendants terminated Plaintiff’s employment.

         53.   The Employer failed to investigate Plaintiff’s complaints and ultimately terminated

his employment because of his race (African American), color of skin (Brown) and in retaliation.

         54.   The Defendants has subjected the Plaintiff to discrimination because of his race

(African-American) and retaliated against in violation of Title VII of the Civil Rights Act of 1964,

as amended.

                                           COUNT I
                                  Violation of 42 U.S.C. § 1981
                                  Race-Based Discrimination

         55.   Plaintiff repeats and re-alleges paragraphs 1-54 as if fully stated herein.

         56.    Section 1977 of the Revised Statutes, 42 U.S.C. § 1981, as amended, guarantees



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persons of all races, colors, and national origin the same right to make and enforce contracts,

regardless of race, color, or national origin. The term “make and enforce” contracts includes the

making, performance, modification, and termination of contracts, and the enjoyment of all

benefits, privileges, terms, and conditions of the contractual relationship.

         57.      Defendants’ conduct against Plaintiff’s race amounts to a pattern or practice of

systemic race discrimination that constitutes illegal intentional race discrimination in violation of

42 U.S.C. Section 1981.

         58.      Plaintiff was subjected to and harmed by Defendants’ systemic and individual

discrimination.

         59.   Defendants’ unlawful conduct resulted in considerable harm and adverse

employment actions to Plaintiff and is entitled to all legal and equitable remedies under Section

1981.

                                           COUNT II
                            Violation of Title VII of The Civil Rights
                       Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.
                                    Race-Based Harassment

         60.   Plaintiff repeats and re-alleges paragraphs 1-54 as if fully stated herein.

         61.   By virtue of the conduct alleged herein, Defendants engaged in unlawful

employment practices and harassed the Plaintiff on the basis of his race, African-American, and

color, in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et

seq.

         62.   Defendants knew or should have known of the harassment.

         63.   The race-based harassment was severe or pervasive.

         64.   The race-based harassment was offensive subjectively and objectively.

         65.   Plaintiff is a member of a protected class under Title VII of the Civil Rights Act of


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1964, as amended, 42 U.S.C. § 2000e, et seq., due to his race, African-American and his skin color,

Brown.

         66.   Defendants acted in willful and reckless disregard of Plaintiff’s protected rights.

As a direct and proximate result of the discrimination described above, Plaintiff has suffered and

continues to suffer loss of employment, loss of income, loss of other employment benefits and has

suffered and continues to suffer mental anguish, distress, humiliation and loss of enjoyment of life.

                                         COUNT III
Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.
                                 Race-Based Discrimination

         67.   Plaintiff repeats and re-alleges paragraphs 1-54 as if fully stated herein.

         68.   By virtue of the conduct alleged herein, Defendants intentionally discriminated

against Plaintiff based on his race, African-American, in violation of Title VII of the Civil Rights

Act of 1964, as amended, 42 U.S.C. §2000e, et seq.

         69.   Defendants’ conduct toward Plaintiff illustrated a willful and/or reckless violation

of Title VII of the Civil Rights Act of 1964.

         70.   As a direct and proximate result of the above-alleged willful and reckless acts of

Defendants, Plaintiff has suffered damages of a pecuniary and non-pecuniary nature, humiliation,

and degradation.

         71.   By reason of Defendants’ discrimination, Plaintiff has suffered severe harm, and is

entitled to all legal and equitable remedies under Title VII.

                                          COUNT IV
Violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.
                                 Color-Based Discrimination

         72.   Plaintiff repeats and re-alleges paragraphs 1-54 as if fully stated herein.

         73.   By virtue of the conduct alleged herein, Defendants intentionally discriminated



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against Plaintiff based on his race, African-American, in violation of Title VII of the Civil Rights

Act of 1964, as amended, 42 U.S.C. §2000e, et seq.

       74.     Defendants’ conduct toward Plaintiff illustrated a willful and/or reckless violation

of Title VII of the Civil Rights Act of 1964.

       75.     As a direct and proximate result of the above-alleged willful and/or reckless acts of

Defendants, Plaintiff has suffered damages of a pecuniary and non-pecuniary nature, humiliation,

and degradation.

       76.     By reason of Defendants’ discrimination, Plaintiff suffered severe harm and is

entitled to all legal and equitable remedies under Title VII.

                                            COUNT V
                              Violation of 42 U.S.C. § 2000e, et seq.
                                           Retaliation

        77.    Plaintiff repeats and re-alleges paragraphs 1-54 as if fully stated herein.

        78.    By virtue of the foregoing, Defendants retaliated against Plaintiff based on him

reporting the race-based discrimination, thereby violating Title VII of the Civil Rights Act of 1964,

as amended, 42 U.S.C. § 2000e, et seq.

        79.    Defendants’ retaliatory conduct toward Plaintiff illustrated a willful and/or reckless

violation of Title VII.

        80.    As a direct and proximate result of the above-alleged willful and/or reckless acts of

Defendants, Plaintiff has suffered damages of a pecuniary and non-pecuniary nature, humiliation,

and degradation.

        81.    By reason of Defendants’ retaliation, Plaintiff suffered severe harm, and is entitled

to all legal and equitable remedies under Title VII.




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                                      RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court find in Plaintiff’s

favor and against Defendants as follows:

               a.     Back pay with interest;

               b.     Payment of interest on all back pay recoverable;

               c.     Front pay;

               d.     Loss of benefits;

               e.     Compensatory and punitive damages;

               f.     Reasonable attorneys’ fees and costs;

               g.     Award pre-judgment interest if applicable; and

               h.     Award Plaintiff any and all other such relief as the Court deems just and

                      proper.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby requests that all issues be submitted to and determined by a jury.

Dated this 25th day of April, 2023.


                                             /s/ Nathan C. Volheim
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